
26 A.3d 784 (2011)
In re Ryan A. LAHUTI, Respondent.
No. 11-BG-944.
District of Columbia Court of Appeals.
Filed August 25, 2011.
BEFORE: RUIZ and THOMPSON, Associate Judges; and NEBEKER, Senior Judge.

ORDER
PER CURIAM.
On consideration of the affidavit of Ryan A. Lahuti, wherein he consents to disbarment from the Bar of the District of Columbia pursuant to § 12 of Rule XI of the Rules Governing the Bar of the District of Columbia Court of Appeals, which affidavit has been filed with the Clerk of this Court, and the report and recommendation of the Board on Professional Responsibility, it is this 25th day of August, 2011,
ORDERED that the said Ryan A. Lahuti is hereby disbarred by consent effective forthwith. The effective date of respondent's disbarment shall run, for reinstatement purposes, from the date respondent files his affidavit pursuant to D.C. Bar Rule XI, § 14(g).
The Clerk shall publish this order, but the affidavit shall not be publicly disclosed or otherwise made available except upon order of the Court or upon written consent of the respondent.
The Clerk shall cause a copy of this order to be transmitted to the Chairman of the Board on Professional Responsibility and to the respondent, thereby giving him notice of the provisions of Rule XI, §§ 14 and 16, which set forth certain rights and responsibilities of disbarred attorneys and the effect of failure to comply therewith.
